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                8.    In accordance with Local Rule 3022-1(b)(2), Debtors affirm

        that they have adjudicated or paid all administrative claims as

        evidence by attached Exhibit A listing the names, addresses and

        amounts paid to each of the recipients.

                9.    Pursuant to Local Rule 3022-1(b) (3), Debtors affirm they

        have substantially consummated all of the distributions prescribed

        by the plan as evidenced by attached Exhibit B is a report listing

        the names, addresses and amounts paid to such eligible claimant.

                10.   In accordance with Local Rule 3022-1(b) (4), Debtors are

        including     as   Exhibit   C   a   list of   all   remaining   distributions

        prescribed by the plan containing the names, addresses and amounts

        to be paid to such eligible party.

                11.   In compliance with Local Rule 3022-1(b) (5), Debtors hereby

        certify that there are no distributions tendered but returned, and

        as such the Exhibit D required by Local Rule does not apply.

                12.   Pursuant to Local Rule 3022-1(d), attached hereto as

        Exhibit E is Debtor’s Bankruptcy Closing Report on Local Bankruptcy

        Form, setting forth the amounts distributed to each class under the

        Plan.

                13.   In view of the aforementioned Debtors confirmed plan of

        reorganization has been substantially consummated, and accordingly

        this Court can issue a Final Decree.

                WHEREFORE, Debtors pray that this accounting be approved and a

        Final Decree be entered to close this case.
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             14 DAYS NOTICE

             TO ALL PARTIES IN INTEREST:

             WITHIN fourteen (14) days after services as evidenced by the

        Certification and an additional three (3) days pursuant to Federal

        Rules of Bankruptcy Procedure 9006(f) if you were served by mail,

        any party against whom this paper has been served, or any other party

        to the action who objects to the relief sought herein, shall serve

        and file an objection or other appropriate response to this paper

        with the Clerk’s office of the U.S. Bankruptcy Court for the District

        of Puerto Rico. If no objection or other response is filed within

        the time allowed herein, the paper will be deemed unopposed and may

        be granted unless; (i) the requested relief is against public policy;

        or (iii) in the opinion of the Court, the interest of justice requires

        otherwise.

             I hereby certify that a true and exact copy of the foregoing

        has been electronically mailed to Assistant U.S. Trustee, Monsita

        Lecaroz, Esq., to all CM/ECF participants and by regular mail to all

        parties in interest.

             In San Juan, Puerto Rico this August 21, 2018.

                                           /s/EMILY D. DAVILA
                                           U.S.D.C.-P.R. #214503
                                           420 PONCE DE LEON MIDTOWN #311
                                           SAN JUAN, PR 00918
                                           Tel.759-8090,FAX 759-9620
                                           davilalawe@prtc.net
                                           davilalaww@prtc.net
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